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11                       UNITED STATES DISTRICT COURT
12                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
      IN RE PORTFOLIO RECOVERY                     Case No. 11md02295-JAH-BGS
14
      ASSOCIATES, LLC TELEPHONE
15    CONSUMER PROTECTION ACT                      Hon. John A. Houston
16    LITIGATION                                   Hon. Bernard G. Skomal

17    This Document Relates to all                 PLAINTIFFS’ UNOPPOSED MOTION TO
18    Member Cases                                 EXTEND FACT DISCOVERY DEADLINE BY
                                                   45 DAYS FOR DISCOVERY ON CYBER CITY
19                                                 TELESERVICES
20
21          Co-Lead Counsel for Plaintiffs with Member Cases submits the following
22    unopposed motion to continue the deadline for non-expert discovery by 45 days so
23    that Plaintiffs can propound written discovery on and depose a representative of
24    Cyber City Teleservices (“CCT”), a third-party vendor utilized by Defendant to dial
25    telephone calls to Plaintiffs. This request will not impact any of the other dates in the
26    Court’s June 29, 2017 Case Management Order.
27          Co-Lead Counsel are charged with the responsibility of litigating whether the
28    dialing systems used by Defendant constitute an automatic telephone dialing system

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                      PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND FACT DISCOVERY DEADLINE
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1     under the TCPA. Specifically, the courts June 9, 2017 Order specifies that:
2           The parties are granted limited discovery on the number of calls, dates
            of calls, along with notes associated with these calls and the nature or
3           type of calling system (ATDS or other system) used by Defendant to
            place said calls, as directed by the magistrate judge.
4
5     DE 597, ¶ 8. The Order further specifies that after discovery the Court will “entertain
6     a motion(s) for summary judgment or summary adjudication on the issues relating to
7     the nature of Defendant’s telephone dialing systems.” DE 597, ¶ 9.
8           Plaintiffs have diligently pursued fact discovery to identify each of the Dialers
9     used by Defendant and the functionalities and capabilities of each of those Dialers.
10    Despite the discovery timely initiated and completed by Plaintiffs, the existence of an
11    additional Dialer and the use of an outsourced vendor only became known during the
12    deposition of Defendant’s corporate representative on Tuesday, November 14, 2017.
13    During the deposition Josh Cherkasly he identified CCT as a company that provided
14    outsourced dialing for Defendant and identified a dialing method used by CCT that
15    had not been previously identified by Defendant in response to written discovery
16    request.
17          The Declaration of Chris R. Miltenberger is submitted in support of the
18    following facts.
19          The dialing method at issue is an alleged click to dial mode allegedly used by
20    CCT. As evidenced by Defendant’s initial responses to Plaintiffs’ interrogatory
21    number one, the CCT Dialer was not identified as a Dialer used by Defendant. See
22    Exhibit A, pages 5-7.
23          In response to interrogatory number 6, no outsourced vendors were identified
24    by Defendant. See Exhibit A, pages 10-11.
25          In response to interrogatory number 15, the CCT click to dial Dialer was
26    described as referencing a dialing mode developed by Asimut Technologies. See
27    Exhibit B, pages 4-5.
28          Each of these interrogatory answers was amended on November 20, 2017 and

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1     served on November 21, 2017 to identify CCT as a separate vendor and the CCT
2     Click to Dial dialing mode as a separate Dialer. See, Exhibit C, page 7 of amendment
3     to Interrogatory 1 and pages 5-7 to amendment to Interrogatories 6 and 15.
4           Additionally, each of the Dialers was listed as a topic about which the corporate
5     representative of Defendant was requested to testify. See Exhibit D, pages 3-4. No
6     objections were made to these specific topics. Mr. Cherkasly testified that as a
7     representative of Defendant he was not prepared to testify about the Dialer identified
8     as the CCT Click to Dial mode.
9           Upon the completion of the depositions of the corporate representative of
10    Defendant and the corporate representative of Asimut Technologies, Plaintiffs
11    realized that in order to provide evidence to this Court in their motion for summary
12    judgment regarding whether each of the Dialers used by Defendant constitutes an
13    automated telephone dialing system under the TCPA, Plaintiffs would need to engage
14    in written discovery and a deposition of a representative of CCT so that the Dialer
15    used by CCT can be accurately represented and described to the Court.
16          Co-Lead Counsel for Plaintiffs with Member cases brings this motion not in an
17    effort to delay or harass but to complete legitimately needed discovery.
18          This motion is not opposed by Defendant. Accordingly, Plaintiffs request that
19    the Court grant an additional 45-day period during which Plaintiffs can take written
20    and oral discovery from CCT. No other discovery deadlines are requested to be
21    extended.
22        Respectfully submitted,        Law Office of Chris R. Miltenberger, PLLC
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                                              Member Cases
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2                                  Certificate of Conference

3           I certify that on November 21, 2017 I discussed the above motion with Jennifer

4     Robbins, Counsel for Defendant, and Defendant does not oppose the extension of

5     discovery with regard to Cyber City Teleservices.

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7                                            By: s/ Chris R. Miltenberger
                                                 Co-Lead Counsel for the Plaintiffs with
8                                                Member Cases
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                     PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND FACT DISCOVERY DEADLINE
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